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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




NATIONAL PRESBYTERIAN CHURCH,
INC.,

                 Plaintiff,

       v.                                              Civil Action No. 1:13-cv-01847-JDB

GUIDEONE MUTUAL INSURANCE
COMPANY,

                Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff National Presbyterian Church, Inc. and Defendant GuideOne Mutual Insurance

Company hereby stipulate and agree that all claims and counterclaims asserted in the above-

captioned action are dismissed with prejudice and without costs.



December 9, 2015                     Respectfully submitted,

                                      COVINGTON & BURLING LLP

                                      By: /s/

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SO ORDERED:



__________________________________
THE HONORABLE JOHN D. BATES
UNITED STATES DISTRICT JUDGE




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